           Case 1:20-cv-02340-EGS Document 12 Filed 09/02/20 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

  STATE OF NEW YORK, et al.,

                          Plaintiffs,

              v.                                        Case No. 20 Civ. 2340

  DONALD J. TRUMP, in his official
  capacity as President of the United
  States, et al.,

                          Defendants.

                             PLAINTIFFS’ NOTICE OF MOTION
                                    (Fed. R. Civ. P. 65)

       PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure 65, Plaintiffs

hereby move the Court for a preliminary injunction with respect to their claim for relief under the

Postal Accountability and Enhancement Act, 39 U.S.C. § 3661. See Compl. ¶¶ 189-193.

Plaintiffs request that the Court enjoin Defendants from implementing, applying, or taking any

action pursuant to Defendants’ Postal Policy Changes, in order to preserve the status quo

pending further proceedings, or until this case is decided on the merits and final judgment is

entered.

       In support of this motion, Plaintiffs rely on the accompanying Memorandum of Law; the

Declaration of Morenike Fajana dated September 2, 2020; the exhibits attached to that

Declaration; the pleadings and papers on file in this action; and any argument and evidence that

is presented on any hearing in this matter.
        Case 1:20-cv-02340-EGS Document 12 Filed 09/02/20 Page 2 of 3




DATED: September 2, 2020




                                                Respectfully submitted,


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         Case 1:20-cv-02340-EGS Document 12 Filed 09/02/20 Page 3 of 3




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